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                                d/b/a T3Leads,
      Grigor Demirchyan, and Marina Demirchyan
14
15                                UNITED STATES DISTRICT COURT
16                              CENTRAL DISTRICT OF CALIFORNIA
17
                                           WESTERN DIVISION
18
      Consumer Financial Protection                  Case No. 2:15-cv-09692-PSG(Ex)
19    Bureau,
20                                                   Hon. Philip S. Gutierrez, Courtroom 6A
                                                     First Street Courthouse
21                          Plaintiff,               [PROPOSED] ORDER
                                                                ORDER ON
                                                                       ON D&D’S
                                                                          D&D'S
22                                                   ADMINISTRATIVE APPLICATION TO
              v.                                     CHANGE HEARING DATE ON ITS
23                                                   MOTION TO STAY THE CASE
            D Marketing,
      D and D Marketing,Inc.,
                          Inc.,cVb/a
                                d/b/a                PENDING DISPOSITION OF APPEAL
24    T3Leads, Grigor Demirchyan, Marina
      Demirchyan, et al.,                            Filed Concurrently with Such Application
25                                                   Current Hearing Date:            July 17, 2017
26                                                   Current Hearing Time:            1:30 p.m.
                            Defendants.
27                                                   Requested Hearing
                                                               Hearing Date:
                                                                       Date: June 26, 2017
                                                     Requested Hearing Time: 1:30 p.m.
28
       [PROPOSED] ORDER ON D&D’S
                           D&D'S ADMINISTRATIVE APPLICATION TO CHANGE HEARING DATE ON ITS MOTION TO STAY THE
                                         CASE PENDING DISPOSITION OF APPEAL
      2771649v.1
     Case 2:15-cv-09692-PSG-E Document 91-1 Filed 05/26/17 Page 2 of 2 Page ID #:633



1                                          [PROPOSED] ORDER
2             Upon consideration of the Administrative Application
                                                       Application filed by Defendants D and
3
        Marketing, Inc.,
      D Marketing, Inc., d/b/a
                          d/b/a T3Leads,
                                 T3Leads, Grigor
                                           Grigor Demirchyan,
                                                   Demirchyan, and
                                                                and Marina
                                                                     Marina Demirchyan
                                                                             Demirchyan
4
   (“D&D”), the Court HEREBY ORDERS
 5 ("D&D"),                  ORDERS that
                                    that the
                                         the hearing
                                             hearing date on D&D’s
                                                     date on       motion to
                                                             D&D's motion to stay
                                                                             stay
 6 the
   the case
       case pending
             pending disposition
                      disposition of
                                  of D&D’s appeal be changed
                                     D&D's appeal    changed from
                                                             from July
                                                                  July 17, 2017 at 1:30
 7
   p.m., to June 26, 2017 at 1:30 p.m.
 8
 9           IT IS SO ORDERED.
10           June___,, 2017
      Dated: June
11
                                           By: /s/
                                               /s/
12                                                Hon. Philip S. Gutierrez
                                                  United States District Court Judge
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                                                     2
       [PROPOSED] ORDER ON D&D’S
                           D&D'S ADMINISTRATIVE APPLICATION TO CHANGE HEARING DATE ON ITS MOTION TO STAY THE
                                         CASE PENDING DISPOSITION OF APPEAL
      2771649v.1
